                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION


 CLIMBING KITES LLC, and FIELD DAY               )   Case No. 4:24-cv-00202-SMR-SBJ
 BREWING COMPANY LLC,                            )
                                                 )
                Plaintiffs,                      )   ORDER DENYING MOTION FOR
                                                 )   PRELIMINARY INJUNCTION
        v.                                       )
                                                 )
 STATE OF IOWA, IOWA DEPARTMENT                  )
 OF HEALTH AND HUMAN SERVICES,                   )
 and KELLY GARCIA, in her official               )
 capacity as the Director of the Iowa            )
 Department of Health and Human Services,        )
                                                 )
                Defendants.                      )


       On June 17, 2024, the above-captioned Plaintiffs filed a Motion for Preliminary Injunction

seeking an order prohibiting the enforcement of House File 2605 prior to its effective date of

July 1, 2024. On an expedited briefing schedule, Defendants resisted the Motion. A hearing on

the matter was held on June 28, 2024, where counsel for Plaintiffs and Defendants presented their

respective positions on the Motion. During the course of the hearing, the Court ex pressed serious

concerns whether HF 2605 was unconstitutionally vague based on a provision of the law limiting

the potency of THC permissible in a single serving of a product. Because the statute does not

define a serving, it is unclear how this provision would be enforced. This potentially raises due

process concerns surrounding a statute with potential criminal penalties.

       In this case however, Plaintiffs’ primary challenge to HF 2605 is that the law is preempted

by the Food, Drug, and Cosmetic Act (“FDCA”). After considering the parties’ briefs and

arguments presented at the hearing, the Court concludes that HF 2605 is not preempted by the

FDCA, meaning it does not violate the Supremacy Clause of Article IV of the United States


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Constitution. Plaintiffs’ remaining bases for relief—the doctrine of primary jurisdiction and a

challenge under Iowa Code Chapter 17A—also fail.          Accordingly, Plaintiffs’ Motion for

Preliminary Injunction is DENIED without prejudice to a renewed motion challenging the law on

other constitutional grounds. [ECF No. 2]. A more extensive discussion of the Court’s analysis

will be filed shortly.

       IT IS SO ORDERED.

       Dated this 28th day of June, 2024.

                                                   _________________________________
                                                   STEPHANIE M. ROSE, CHIEF JUDGE
                                                   UNITED STATES DISTRICT COURT




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